                                                     Notice Recipients
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Case: 5:18−bk−03421−RNO                         Form ID: 318                 Total: 7


Recipients of Notice of Electronic Filing:
ust         United States Trustee          ustpregion03.ha.ecf@usdoj.gov
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                                                                                                            TOTAL: 4

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5104508     SHELLPOINT MORTGAGE SERVICING                 P.O. BOX 10826         GREEVILLE, SC 29603−0826
                                                                                                            TOTAL: 3




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                       Discharge Ch 7: Notice Recipients Page 1 of 1
